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                                     1
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                                          Tel.: (310) 282-0690
                                     6    Fax: (310) 282-0691
                                     7    Attorneys for Petitioner
                                          JASPREET MATHUR
                                     8

                                     9                        UNITED STATES DISTRICT COURT

                                    10                       CENTRAL DISTRICT OF CALIFORIA

                                    11
2029 CENTURY PARK EAST, SUITE 450




                                              IN RE: DMCA § 512(h)                   MISC. Case No: 2:22-mc-204
  LOS ANGELES , CALIFORNIA 90067




                                    12        SUBPOENA TO
                                              GODADDY.COM, LLC                       REQUEST TO THE CLERK FOR
       ROME & ASSOCIATES




                                    13
                                                                                     ISSUANCE OF SUBPOENA TO
                                    14                                               GODDADDY.COM, LLC
                                    15                                               PURSUANT TO 17 U.S.C. § 512(h)

                                    16

                                    17
                                                  PETITIONER JASPREET MATHUR (“Mathur”) hereby requests that the

                                    18
                                          Clerk of this Court issue a subpoena to Godaddy.com, LLC to identify an alleged

                                    19
                                          infringer pursuant to the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C.

                                    20
                                          § 512(h) (“Subpoena”). The proposed Subpoena is attached hereto as Exhibit 1.

                                    21
                                          The proposed Subpoena is directed to Godaddy.com, LLC, the host of the website,

                                    22
                                          www.jasmathur.com, on which the infringing material is posted.1

                                    23

                                    24
                                          1
                                    25      Mathur previously requested a prior DMCA subpoena directed to GoDaddy Inc.
                                          seeking the same information. Godaddy.com, LLC has informed counsel for
                                    26
                                          Mathur that it is the correct entity that hosts the website and maintains the
                                    27    responsive information. Accordingly, Mathur is requesting issuance of a new
                                          DMCA subpoena directed to the correct GoDaddy entity.
                                    28
                                                                                    1
                                               REQUEST TO THE CLERK FOR ISSUANCE OF SUBPOENA PURSUANT TO 17 U.S.C. § 512(h)
                                         Case 2:22-mc-00204-UA Document 1 Filed 10/24/22 Page 2 of 7 Page ID #:2




                                     1          Mathur has satisfied the requirements for issuance of a subpoena pursuant to
                                     2    17 U.S.C. § 512(h):
                                     3          1. Mathur has submitted copies of his notification sent pursuant to 17 U.S.C.
                                     4             § 512(c)(3)(A) as Exhibit A to the attached Declaration of Brianna
                                     5             Dahlberg filed herewith (“Dahlberg Decl.”).
                                     6          2. Mathur has submitted the proposed Subpoena as Exhibit 1 attached
                                     7             hereto.
                                     8          3. Mathur has submitted a sworn declaration confirming that the purpose
                                     9             for which the Subpoena is sought is to obtain the identity of an alleged
                                    10             infringer or infringers and such information will only be used for the
                                    11             purposes of protecting rights under title 17 of the United States Code. See
2029 CENTURY PARK EAST, SUITE 450
  LOS ANGELES , CALIFORNIA 90067




                                    12             Dahlberg Decl.
       ROME & ASSOCIATES




                                    13          Having complied with the statutory requirements, Mathur respectfully
                                    14    requests that the Clerk expeditiously issue and sign the proposed Subpoena
                                    15    pursuant to 17 U.S.C. § 512(h) and return it for service on Godaddy.com, LLC.
                                    16
                                          Dated: October 24, 2022               ROME & ASSOCIATES, A.P.C.
                                    17

                                    18
                                                                                By: /s/ Brianna Dahlberg
                                    19                                                   Eugene Rome, Esq.
                                    20                                                   Brianna Dahlberg, Esq.
                                                                                         Attorneys for Petitioner,
                                    21                                                   JASPREET MATHUR
                                    22

                                    23

                                    24

                                    25

                                    26

                                    27

                                    28
                                                                                  2
                                            REQUEST TO THE CLERK FOR ISSUANCE OF SUBPOENA PURSUANT TO 17 U.S.C. § 512(h)
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                     Exhibit 1
               Case 2:22-mc-00204-UA Document 1 Filed 10/24/22 Page 4 of 7 Page ID #:4
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of
                                                           Central District of California
                                                                               __________
 In re: DMCA 512(h) Subpoena to Godaddy.com, LLC
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No. 2:22-mc-204
                                                                               )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                 Godaddy.com, LLC
 To:                                                      c/o Corporation Service Company
                                                 8825 N. 23rd Avenue, Suite 100, Phoenix, AZ 85021
                                                        (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents,
        l   electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:
                See Attachment A


  Place: Rome & Associates, A.P.C.                                                       Date and Time:
           2029 Century Park East, Suite 450
           Los Angeles, CA 90067                                                                       October 31, 2022 at 10:00 a.m.
           bdahlberg@romeandassociates.com
      u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:

                                   CLERK OF COURT
                                                                                             OR

                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)   Jaspreet Mathur

                                                                         , who issues or requests this subpoena, are:
Brianna Dahlberg, ROME & ASSOCIATES, A.P.C., 2029 Century Park E., Ste 450, Los Angeles, CA 90067
bdahlberg@romeandassociates.com / (310) 282-0690
                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 2:22-mc-00204-UA Document 1 Filed 10/24/22 Page 5 of 7 Page ID #:5
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
              Case 2:22-mc-00204-UA Document 1 Filed 10/24/22 Page 6 of 7 Page ID #:6
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      ATTACHMENT A
       The documents requested below may be produced to Rome & Associates A.P.C., 2029
Century Park East, Suite 450, Los Angeles, CA 90067, or electronically to Brianna Dahlberg at
bdahlberg@romeandassociates.com.
       By way of definition, “you” or “your” shall mean Godaddy.com, LLC its successors,
predecessors, assigns, officers, directors, employees, agents, attorneys, and anyone acting or
purporting to act on behalf of Godaddy.com, LLC. “Relating or “referring to” shall mean directly
or indirectly mentioning or describing, pertaining to, being connected with, or reflecting upon a
stated subject matter.
                              REQUESTS FOR PRODUCTION

       1.      All documents relating or referring to customer information for the domain
jasmathur.com, including the name, address, phone number, email address, method of payment
(and name associated with method of payment if different than customer name), dates of service,
connection IP addresses with dates and times in GMT, user account history, and any other
identifying information.
       2.      All documents relating or referring to customer information for the website
www.jasmathur.com, including the name, address, phone number, email address, method of

payment (and name associated with method of payment if different than customer name), dates of
service, connection IP addresses with dates and times in GMT, user account history, and any other
identifying information.




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